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             and Md. Rokonnurzzaman
         6
                                IN THE UNITED STATES DISTRICT COURT
         7                      FOR THE NORTHERN MARIANA ISLANDS

         8
              ABU YOUSUF and                        MD.          Civil Case No. l:21-cv-00015
              ROKONNURZZAMAN,
         9
                                      Plaintiffs,          PLAINTIFFS' AMENDED OPPOSITION
                                                          TO DEFENDANT FELOTEO V. RANADA'S
                                vs.                              MOTION TO DISMISS;
                                                                 PLAINTIFFS' MOTION
              LONGFENG CORPORATION                        TO DECLARE DEFENDANT FELOTEO V.
              dba/aka NEW XO MARKET and                          RANADA IN DEFAULT
              PARTYPOKER, GUO WU LI, XU
              GUI QING, FELOTEO V. RAN ADA
                                                          Date: May 05, 2022
              dba N.V.M. ENTERPRISES, jointly
                                                          Time: 1:30 p.m.
              and severally,
                                                          Chief Judge: Hon. Ramona V. Manglona
                                      Defendants.
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  0                COME NOW Plaintiffs Abu Yousuf and Md. Rokonnurzzaman, by the undersigned
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             counsel, and hereby submit Plaintiffs' Amended Opposition to Defendant Feloteo V.
        19
             Ranada's ostensible motion to dismiss e-filed March 31, 2022 in this matters, as follows:
        20
                   Defendant Ranada's motion to dismiss is untimely and should be stricken or denied.
        21
             If the Court is inclined to consider the untimely motion, it should be denied as the factual
        22
             allegations and arguments raised therein are also without merit.
        23
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               ~                      IV. Plaintiffs Request Leave to Amend in the Event
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                                           Case 1:21-cv-00015 Document 41 Filed 04/14/22 Page 5 of 15



                                1                                       STAND ARD OF REVIEW

                                2            Rule 12(b)(6) - Failure to State a Claim 11

                                3             A motion to dismiss for failure to state a claim "is viewed with disfavor and is rarely

                                4   granted." Gilligan v. Jamco Dev. Corp., 108 F.3d 246,249 (9 th Cir. 1997) (citations omitted).

                                5   "Instead oflavishing attention on the complaint until plaintiff gets it just right, a district court
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                         ~      6   should keep the case moving-if the claim is unclear, by requiring a more definite statement
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                     ~              under Rule 12( e), and if the claim is clear but implausible, by inviting a motion for summary
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                                8   judgment." Bennett v. Schmidt, 153 F.3d 516, 518 (7 th Cir. 1988)
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                                9             "The focus of any rule l 2(b )( 6) dismissal -       both in the trial court and on appeal -
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                                    is the complaint." Schneider v. California Dept. of Corrections, 151 F.3d 1194, 1197 n. 1
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                   "r.L        11   (9 Cir. 1998). "To survive a motion to dismiss for failure to state a claim under Rule
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H G'~ -0                            12(b )( 6), a complaint generally must satisfy only the minimal notice pleading requirements
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               j               13   of Rule 8( a)(2)" . . . "a short and plain statement of the claim showing that the pleader is
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                     '£.       14   entitled to relief." Porter v. Jones, 319 F.3d 483, 494 (9 th Cir. 2003). The "[f]actual
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                                    allegations must be enough to raise a right to relief above the speculative level." Bell Atlantic
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                               16   Corporation      v. Twombly, 550 U.S. 544, 555 (2007). The "[c]omplaint must contain
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                               17   sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its
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                               18   face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted).
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                               19   Whether a complaint satisfies the plausibility standard is "a context-specific task that

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                                              11
                                                Defendant Ranada, prose, filed his motion to dismiss without indicating under what rule he
                               22
                                    brought his motion. Plaintiffs simply took the liberty to assume that the said motion is being brought under
                                    Rule 12(b )(6) of the Federal Rules of Civil Procedure.
                               23

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        1   requires the reviewing court to draw on its judicial experience and common sense." Id. at

        2   679.

        3              The allegations made in a complaint must "give fair notice and ... enable the

        4   opposing party to defend itself effectively." Starr v. Baca, 652 F.3d 1202, 1216 (9 th Cir.

        5   2011), cert. denied, 132 S.Ct. 1201 (2012). Factual allegations, taken as true, "must

        6   plausibly suggest an entitlement to relief, such that it not unfair to require the opposing party

        7   to be subjected to the expense of discovery and continued litigation." Id.

        8           If a complaint or claim is dismissed, '" [a] district court should grant leave to amend

            even if no request to amend the pleading was made, unless it determines that the pleading

            could not possibly be cured by the allegations of other facts."' Lacey v. Maricopa Cnty., 693

            F.3d 896, 926 (9 th Cir. 2012) (en bane).

                                                   ARGUMENT

            I.      The Motion is Untimely and Should be Stricken or Denied.

                   On February 24, 2022, pursuant to and within the timeline set by the Court's Order

            (Civil Minutes) dated February 10, 2022 (ECF No. 32), Plaintiffs filed their Second

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       16   Amended Complaint for Violation of the Fair Labor Standards Act ("SAC") (ECF No. 33).
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       17          Pursuant to Fed. R. Civ. P. 15 (a)(3), if the pleading amended is one to which a
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P'.i   18   responsive pleading is appropriate, the opposing party will have either the time remaining
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       19   before a response to the unamended pleading was due, or fourteen days -            whichever is

       20   longer -    in which to respond. Id.

       21          Accordingly, Defendant Feloteo V. Ranada ("Ranada" or "Defendant") had until

       22   March 10, 2022 to file his response to the SAC.

       23

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        1         On or about March 31, 2022, or twenty-one (21) days past the Rule 15 deadline,

        2   Ranada filed his motion to dismiss (ECF No. 39) the SAC.

        3         While Plaintiffs are aware that defendant Ranada is proceeding prose, however, his

        4   status as a pro se litigant does not excuse him from conforming to the Local Rules or the

        5   Federal Rules of Civil Procedure. While the Court must construe pleadings liberally, "[p]ro

        6   se litigants must follow the same rules of procedure that govern other litigants." King v.
                                         th
        7   Atiyeh, 814 F.2d 565, 567 (9 Cir. 1987), overruled on other grounds by Lacey v. Maricopa
                                   th
        8   Cnty., 693 F.3d 896 (9 Cir. 2012) (en bane); see also In re Greenstein, 589 B.R. 854, 861
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            (C.D. Cal. 2018), aff'd, 788 F.App'x 497 (9 th Cir. 2019) ("Prose litigants must comply with
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            basic procedural requirements, despite not being represented by an attorney."); see also Clark

            v. Wells Fargo Bank, 6: 14-cv-01103-TC, at 2 (D. Oregon Nov. 24, 2014) (citing King, 814

            F.2d at 567, warning prose litigant that "litigation is not a game in which he can make up

            his own rules"); see also Loren v. Sasser, 309 F.3d 1296, 1304 (11 th Cir. 2002) ("Despite

            construction leniency afforded to pro se litigants, we nevertheless have required them to

            conform to procedural rules."); see finally Moon v. Newsome, 863 F.2d 835,837 (11 th Cir.

            1989) (noting that a prose litigant "is subject to the relevant law and rules of court including
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            the Federal Rules of Civil Procedure").
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                  Fed R Civ. P. 15 (a)(3) provides:
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ci                       Time to Respond. Unless the court orders otherwise, any required
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                   response to an amended pleading must be made with the time remaining to
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                   respond to the original pleading or within 14 days after service of the
                   amended pleading, whichever is later.
       20
                   Here, Ranada failed to comply with the mandate of the above-quoted Rule. Given
       21
            the untimeliness of his said motion, relief under Rule 12 for Ranada is therefore foreclosed
       22
            and unavailing.
       23

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       1    II.    The Motion is Also not Meritorious.

       2          Even if the motion was timely, defendant Ranada has not raised any ground sufficient

       3   to justify dismissal of the SAC. In addition to its form being deficient and defective,

       4   Ranada's motion to dismiss is also not meritorious. While Ranada in his motion claims to

       5   being "also a big VICTIM" (ostensibly and indirectly claiming not being Plaintiffs'

       6   employer), however, Ranada has offered no legal authority in support of his contentions that

       7   dismissal is the proper remedy for being a victim. If indeed, Ranada is also an employee

       8   (former) of the other Defendants, among other employers, the logical and legal course of

           action to take is to file a case against his co-defendants. At best, Ranada's motion raised

           factual issues, contentions or disputes that must be settled at trial. See Animal Legal Defense

           Fund v. U.S. FDA, 836 F.3d 987, 990 (9 th Cir. 2016); Moser v. Las Vegas Metro Police

           Dep't., 984 F.3d 900,911 (9 th Cir. 2021).

                  Moreover, Ranada's claim that he is not Plaintiffs' employer is misplaced. An

           employee is defined as "any individual employed by an employer." 29 U.S.C. § 203 (e)(l).

           The FLSA defines an employer-employee relationship broadly. Torres-Lopes v. May, 111

           F.3d 633, 638 (9 th Cir. 1997). "The FLSA's definition of employee has been called the

           broadest definition that has ever been included in any one act." Id         The definition of
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r:o   18   "employer" under the FLSA is not limited by the common law concept of "employer," but
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      19   "is to be given an expansive interpretation in order to effectuate the FLSA's broad remedial

      20   purposes." Bonnette v. California Health and Welfare Agency, 704 F.2d 1465, 1469 (9 th Cir.

      21   1983), abrogated on other grounds by Garcia v. San Antonio Metropolitan Transit Auth.,

      22   469 U.S. 528 (1985).

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        1            Under FLSA, an employee may have more than one employers. See Bonnette, 704

        2   F.2d at 1469; see also 29 C.F.R. § 791.2. And under FLSA, an "employer includes any

        3   person acting directly or indirectly in the interest of an employer in relation to an employee

        4   and includes a public agency, but does not include any labor organization ( other than when

        5   acting as an employer) or anyone acting in the capacity of officer or agent of such labor

        6   organization." 29 U.S.C. § 203(d).

        7           As a person who acted directly or indirectly in the interest of Long Feng Corporation

        8   (LFC) and/or his co-Defendants in relation to Plaintiffs, Ranada may be deemed a joint

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        9   employer of Plaintiffs and subject to liability under the FLSA.
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N                    In their SAC, each Plaintiff individually alleged that Ranada, acting as a manpower

            agency for his co-defendants/clients, "was doing business as and/or operated and controlled

            NVM Enterprises as his sole business operation and enterprise." SAC~~ 4, 44. 21 Acting as

            employer, Ranada hired each Plaintiff with New XO Market and Partypoker game room

            facilities as intended and agreed assignment/placement, either as security guard and/or

            bagger. SAC~ 45.

 [     16           For his employees' (Plaintiffs) services, Ranada initially charges his principal LFC
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       17   with a below the minimum wage of $5 .05 per hour, for each hour worked by each Plaintiff.
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~      18   SAC~ 46; see also SAC Exhibit "4" (In the said Exhibit "4," Ranada, signing himself as
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0..:
       19   "Operations" and using NVM' s official stationery, billed LFC certain sum of money "for the

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                     21
                         NVM Enterprises, Inc., as a sole proprietorship, arguably has no existence separate and apart
       21   from its owner, Nenita V. Marquez (hence the initials NVM). See Providence Washington Ins. Co. v.
            Valley Forge Ins. Co., 50 Cal. Rptr.,2d 192, 194 (Cal. Ct. App. 1992) ("A sole proprietorship is not a legal
       22   entity itself. Rather, the term refers to a natural person who directly owns the business ... ") On information
            and belief, Nenita V. Marquez passed away in 2019. Notwithstanding the death of Ms. Marquez in 2019,
            defendant Ranada continued doing business utilizing the defunct business entity.
       23

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        1   services rendered by our security officers posted at New XO Market and Party Poker ... ")

        2   (emphasis added). Out of this amount of $5.05 per hour for each Plaintiffs hours worked,

        3   Ranada deducted certain amount for himself and/or NVM Enterprises by paying each

        4   Plaintiff wages at the flat rate of $4.25 per hour. SAC 148 (with illustration).

        5          During the succeeding years, the initial rate of $5.05 per hour was increased to $5.55

        6   per hour, for each hour worked by each Plaintiff. SAC 147; see also SAC Exhibit "5." (In

        7   the said Exhibit "5," Ranada, signing himself as "Operations" and using NVM's official

        8   stationery, billed LFC certain sum of money "for the services rendered by our security

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        9   officers posted at New XO Market and Party Poker ... ") (emphasis added). Despite the
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N           increase in rate, however, Ranada after deducting certain amount for himself and/or NVM

            Enterprises continued paying each Plaintiff wages at the flat rate of $4.25 per hour. SAC     1
            48 (with illustration).

                   Sometime in or around the year 2020, the rate of $5.55 per hour was further

            increased to $6.05 per hour for each Plaintiffs hours worked. SAC       1 47;   see also SAC
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            Exhibit "6. (In the said Exhibit "6, 11 Ranada, signing himself as "Company representative"
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            and using NVM's official stationery, billed LFC certain sum of money "for the services

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       17   rendered by our guard posted (sic) New XO Supermarket ... ") (emphasis added). Despite
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o:i    18   the increase in rate, however, Ranada after deducting certain amount for himself and/or
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r:,;
       19   NVM Enterprises continued paying each Plaintiff wages at the flat rate of $4.25 per hour.

       20   SAC   1 48 (with illustration).
       21          Due to said unwarranted deductions, Plaintiffs' weekly wages fell further below the

       22   statutory minimum and overtime wage/rate under the FLSA. SAC                       1   49 (with

       23   illustration/explanation).

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           1          In addition, Mr. Li issued checks in LFC's name with Ranada and/or NVM as payee.

           2   Ranada would then deposit said negotiable instruments with the bank, encash them and

           3   thereafter pay Plaintiffs their respective wages. SAC~ 30.

           4          Though their burden, Defendants failed to keep or maintain the required employment

           5   records under the FLSA. SAC~ 50.

           6          Finally, for their and their respective families' sustenance, each Plaintiff was reliant

           7   on their below minimum wages from working at New XO Market and Partypoker, through

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           8   defendant Ranada. SAC~ 13 .
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           9          The afore-stated factual allegations, taken as true, establish that defendant Ranada is
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     10        plausibly Plaintiffs' employer, in addition to or together with the other Defendants in this

               suit. The said factual allegations are sufficient to "give [Defendants] fair notice and ...

               enable [them] to defend [themselves] effectively[,] .... such that it is not unfair to require

               [them] to be subjected to the expense of discovery and continued litigation." Starr, 652 F.3d

               at 1216.

                      Regarding the attached exhibits to defendant Ranada's motion, Plaintiffs lack

               sufficient information and knowledge to admit or acknowledge the authenticity of the said

               documents/exhibits, and therefore deny the same.
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 o:i      18   III.    For Failure to Timely Respond to the SAC,
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 0.:                   Defendant Ranada may now be Declared in Default.
          19
                       As earlier indicated, Plaintiffs filed and served their SAC on February 24, 2022.
          20
               Defendant Ranada, among others, had been electronically served with the said amended
          21
               pleading, but he had not answered or otherwise responded to the SAC.             See attached
          22
               Declaration in Support of Plaintiffs' Motion for Entry of Default.
          23

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                Case 1:21-cv-00015 Document 41 Filed 04/14/22 Page 12 of 15



         1           Instead, Defendant Ranada filed an untimely and asserted motion to dismiss on

         2   March 31, 2022. However, "[ a] motion to dismiss is not a responsive pleading within the

         3   meaning of Rule l 5(a)." Rick-MikEnterprises v. Equilon Enterprises, 532 F.3d 963, 977 (9 th

         4   Cir. 2008).

         5           Fed. R. Civ. P. l 5(a)(3) mandates that if the pleading amended is one to which a

         6   responsive pleading is appropriate, the opposing party will have either the time remaining

         7   before a response to the unamended pleading was due, or fourteen days -               whichever is

         8   longer -   in which to respond. Id.

                     On the other hand, Fed. R. Civ. P. 55(a) provides that "[w]hen a party against whom

             a judgment for affirmative relief is sought has failed to appear or otherwise defend, and that

             the failure is shown by affidavit or otherwise, the clerk must enter the party's default." By

             his failure "to plead or otherwise defend" Ranada may now be considered in default.

                     If a party is determined to have failed to plead or otherwise defend, entry of default

             is mandatory, not discretionary. See Bricklayers and Allied Craftworkers Local 2, Albany,
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o-      15   N. Y Pension Fund v. Moulton Masonry & Const., LLC, 779 F.3d 182, 186 (2 nd Cir. 2015);
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 ~~     16   Perez v. Wells Fargo NA., 774 F.3d 1329, 1337 (11 th Cir. 2014). Indeed, a delinquent party
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             is already considered to be in default, even if the formal entry of default has not yet been
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r:o     18   made. See Perez, 774 F.3d at 1337. ("[A] defendant who fails to answer within the time
cj
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        19   specified by the rules is in default even if that fact is not officially noted.") (citation omitted).

        20   Although entry of default is typically a ministerial act undertaken by the clerk, district court

        21   judges themselves possess the power to enter default as well. City of New York v. Mickalis

        22   Pawn Shop, LLC., 645 F.3d 114, 128 (2 nd Cir. 2011).

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         1   IV.      Plaintiffs Request Leave to Amend in the Event
                      the Court Believes and Requires Factual Elaboration.
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                      Plaintiffs contend that they adequately pled employment relationship between them
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             and Defendants. However, should this Court determine otherwise, Plaintiffs hereby request
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             and move for leave to amend. Leave to amend "should [be] freely give[n] when justice so
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             requires," Fed. R. Civ. P. 15(a), and generally leave shall be denied only upon showing of
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             bad faith, undue delay, futility, or undue prejudice to the opposing party. Leadsinger, Inc. v.
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             BMG Music Publishing, 512 F.3d 522,532 (9 th Cir. 2008) (citing Foman v. Davis, 371 U.S.
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             178, 182 (1962). If a complaint or claim is dismissed, "[a] district court should grant leave

             to amend even if no request to amend the pleading was made, unless it determines that the

             pleading could not possibly be cured by the allegations of other facts." Lacey v. Maricopa

             Cnty., 693 F.3d 896, 926 (9 th Cir. 2012) (citations omitted).

                      The Appellate Cou1i for the Ninth Circuit has determined that Rule 15 should be

             interpreted with "extreme liberality," Jackson v. Banko/Hawaii, 902 F.2d 1385, 1387 (9 th

0            Cir. 1990), and "[a]n outright refusal to grant leave to amend without ajustifying reason is
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0-.          ... an abuse of discretion." Leadsinger, Inc. v. BMG Music Pub! 'g, 512 F.3d 522, 532 (9 th
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(J]          Cir. 2008) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)). "Prejudice to the opposing
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             party is the most important factor." Jackson, 902 F.2d at 1387 (citing Zenith Radio Corp.,
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0            v. Hazeltine Research, Inc., 401 U.S. 321, 330-31 (1971).
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                     In his motion, Defendant has not argued and thus has not met his burden of showing
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             that such proposed amendment would be futile, or would result in undue prejudice. At this
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             early pleading stage, Defendant cannot show and will not be prejudiced if Plaintiffs are given
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             leave to amend. It must be noted that Plaintiffs and Defendant Ranada have not yet engaged
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          1   in single discovery request between them. Accordingly, if this Court were to find that

          2   Plaintiffs' factual allegations in their SAC are insufficient, Plaintiffs request leave of court

          3   allowing them to amend their complaint.

          4         If leave to amend were granted, Plaintiffs would add and incorporate, among others,

          5   the following allegations:

          6          1. On information and belief, NVM Enterprises, a sole proprietorship, was originally

          7   owned and managed by Nenita V. Marquez.

          8         2. On information and belief, Nenita V. Marquez passed away in 2019.

          9         3. After Ms. Marquez's death in 2019, Ranada has continued the business operations

              utilizing the defunct business entity (NVM Enterprises).

                     4. At the time Plaintiffs filed their initial Complaint in 2021, Nenita V. Marquez was

              already deceased.

                    5. Regarding their employment or work at New XO Market and Partypoker, Plaintiffs

              never met with Nenita V. Marquez or any other representative from NVM Enterprises.
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a-       15         6. Regarding their employment or work at New XO Market and Partypoker, Plaintiffs
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  i      16   met and negotiated with Defendant Ranada.
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::::     17         7. Defendant Ranada informed Plaintiffs and Plaintiffs were made to believe and in
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~        18   good faith believed that Ranada was their employer of record.
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c,.;
         19         8. Using NVM Enterprises, Ranada ostensibly hired Plaintiffs and held them out as

         20   his employees.

         21         9. During their employment with Defendants, Plaintiffs received their wages from

         22   LFC through Defendant Ranada.

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          1         10.    On information and belief,            Ranada and/or   NVM Enterprises are

          2   undercapitalized, sham business entities utilized by LFC.

          3                                    CONCLUSION/PRAYER

          4          Defendant Ranada's motion to dismiss should be stricken, rejected or denied as it is

          5   untimely and fails to comply with the requirements of Rule 12 of the Federal Rules of Civil

          6   Procedure. Nonetheless, if the Court is inclined to consider the untimely motion, it should

          7   also be denied as the factual allegations and arguments therein are without merit. Defendant

          8   Ranada has made no legally supported challenges to Plaintiffs' factual allegations of

          9   employment relationship between the parties herein. Plaintiffs' factual allegations in their

              Second Amended Complaint give and put all Defendants on fair notice of the claims herein

              and provide them with a full and fair opportunity to defend themselves.

                     In addition, Plaintiffs request and move that Defendant Ranada be declared in default

              for his failure to timely respond to the Second Amended Complaint dated February 24, 2022.

                     In the event that Defendant Ranada's motion to dismiss or a part of it is granted by
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~        15   the Court, Plaintiffs hereby request leave of court to amend their Second Amended
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    ~~   16   Complaint.
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         17          Respectfully submitted this 14th day of April, 2022.
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                                                                  Isl Joe Hill
                                                                  HILL LAW OFFICE
         20                                                       Joe Hill (F0 125)
                                                          Attorney for Plaintiffs Abu Yousuf
         21                                                  and Md. Rokonnurzzaman


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